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08/03/2018 12:09 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          300 Nebraska R eports
                                  STATE EX REL. COUNSEL FOR DIS. v. HALSTEAD
                                                Cite as 300 Neb. 69



                          State     of     Nebraska ex rel. Counsel for Discipline
                                of the      Nebraska Supreme Court, relator,
                                        v. Rodney A. H alstead, respondent.
                                                     ___ N.W.2d ___

                                            Filed May 25, 2018.    No. S-17-530.

                    Original action. Judgment of disbarment.

                 Heavican,               C.J.,   Miller-Lerman,           Cassel,   Stacy,   and
               Funke, JJ.

                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the voluntary surrender
               of license filed by the respondent, Rodney A. Halstead, on
               February 15, 2018. The court accepts the respondent’s vol-
               untary surrender of his license and enters a judgment of
               disbarment.

                                 STATEMENT OF FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on September 25, 1991. On November 3,
               2017, we suspended the respondent’s license to practice law in
               the State of Nebraska for 1 year. State ex rel. Counsel for Dis.
               v. Halstead, 298 Neb. 149, 902 N.W.2d 701 (2017).
                  On February 15, 2018, the respondent filed a voluntary
               surrender of license to practice law, in which he stated that
               on May 23, 2017, formal charges were filed against him by
               the Counsel for Discipline alleging that he had a conflict of
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          Nebraska Supreme Court A dvance Sheets
                  300 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. HALSTEAD
                         Cite as 300 Neb. 69
interest with multiple clients when he entered into a busi-
ness relationship with them without proper protections for
the clients, that he converted client funds before complet-
ing any work for a client, and that he failed to refund the
unearned portion of the client funds when his representation
was terminated.

                          ANALYSIS
   Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3-315 of the disciplinary rules, we find that the
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth
of the suggested allegations made against him. Further, the
respondent has waived all proceedings against him in connec-
tion therewith. We further find that the respondent has con-
sented to the entry of an order of disbarment.

                        CONCLUSION
   Upon due consideration of the court file in this matter,
the court finds that the respondent has stated that he freely,
knowingly, and voluntarily admits that he does not contest
the allegations being made against him. The court accepts
the respondent’s voluntary surrender of his license to prac-
tice law, finds that the respondent should be disbarred, and
hereby orders him disbarred from the practice of law in the
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          Nebraska Supreme Court A dvance Sheets
                  300 Nebraska R eports
          STATE EX REL. COUNSEL FOR DIS. v. HALSTEAD
                        Cite as 300 Neb. 69
State of Nebraska, effective immediately. The respondent
shall forthwith comply with all terms of Neb. Ct. R. § 3-316
(rev. 2014) of the disciplinary rules, and upon failure to do
so, he shall be subject to punishment for contempt of this
court. Accordingly, the respondent is directed to pay costs
and expenses in accordance with Neb. Rev. Stat. §§ 7-114and 7-115 (Reissue 2012) and Neb. Ct. R. §§ 3-310(P) (rev.
2014) and 3-323 of the disciplinary rules within 60 days after
an order imposing costs and expenses, if any, is entered by
the court.
                                    Judgment of disbarment.
   Wright, J., not participating.
